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                      UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
                           OAKLAND DIVISION



In re Google RTB Consumer Privacy
Litigation,                                 Case No. 4:21-cv-02155-YGR-VKD



This document applies to: all actions




            EXPERT CLASS CERTIFICATION REBUTTAL REPORT
                 OF PROFESSOR CHRISTOPHER WILSON

                                NOVEMBER 29, 2023




            UNREDACTED VERSION FOR THE NEW YORK TIMES
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    I.    INTRODUCTION

          1.    This case concerns Google RTB, a proprietary Internet-based advertising auction

platform through which Google transmits information about Internet users to hundreds of third-

party companies around the world, including ad exchanges, advertisers and other entities.

          2.    In my role as a subject matter expert retained by the Plaintiffs in this case, on July

14, 2023, I submitted a report (“Wilson Report” or “Report”) to the Court in which I offered several

opinions relevant to Plaintiffs’ Motion for Class Certification.1 At a high-level, these opinions

concern: (a) the uniformity of the structure of bid requests in Google RTB; (b) evidence that bid

requests in Google RTB do in fact distribute information that is reasonably capable of being

associated with individuals or households; (c) the unavoidability of Google RTB in the real world;

and (d) the failure of the Google Account Ad Personalized Opt-Out Setting (a.k.a. “GAP”) to halt

the flow of Google account holder data to RTB participants.

          3.    I was deposed by Google’s counsel on August 31, 2023, and provided clarifying

information about my Report and the opinions therein.

          4.     Subsequent to the submission of my Report and my deposition, Google filed its

opposition to Plaintiffs’ motion for class certification which included, among other things, the

declaration of Glenn Berntson (“Berntson Declaration”) and expert reports from Dr. Aaron Striegel

(“Striegel Report”) and Dr. Konstantinos Psounis (“Psounis Report”). I have reviewed these

documents, the associated depositions of Dr. Berntson, Dr. Striegel and Dr. Psounis, and the data

and source code provided by Dr. Striegel.

          5.    In general, Dr. Berntson’s declaration presents information about Google RTB. I

agree with some of the information Dr. Berntson presents in his declaration. However, there are

inaccuracies and unsupported claims in Dr. Berntson’s declaration that I will respond to below.

          6.    Dr. Striegel’s Report also presents information about Google RTB. Further, Dr.

Striegel directly engages with the content of my Report, asserting that many of my opinions are

1
 Expert Class Certification Report of Prof. C. Wilson in Support of Plaintiffs’ Motion for Class
Certification, dated July 14, 2023 (“Wilson Report”) (ECF 545-6).
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commonly shared and sold in Google RTB is reasonably capable of being associated with

individuals and households thus remains the same.

          14.    Based on the documents and datasets I reviewed when preparing my Report, as well

as analysis that I presented in my Report, my opinion about the ubiquity of Google RTB remains

the same: it is very unlikely that there are any Google U.S. account holders who, over the entire

seven-year Class Period, did not have their data shared and sold through Google RTB at least once,

and more likely thousands and thousands of times. Dr. Berntson and Dr. Striegel present no

evidence to undermine my opinion. Although Dr. Striegel questions the conclusions of the analysis

of Named Plaintiff data that I present in my Report, I explain below why his concerns are

unfounded.

          15.    Based on the documents and datasets I reviewed when preparing my Report, as well

as the Berntson Declaration and Striegel Report, it is my opinion that user and publisher controls

do not stop Google RTB from selling and sharing Google account holders’ data. In my Report, I

present evidence that one such control, Google Account Ad Personalized Opt-Out Setting (a.k.a.

“GAP”), does not prevent Google RTB from selling and sharing account holder data. Although

Dr. Striegel questions the conclusions of my experiment, I present evidence that his concerns are

unfounded. In addition, although Dr. Berntson and Dr. Striegel introduce many more controls, I

discuss below how these controls similarly fail to stop Google RTB from selling or sharing account

holder data.

III.      THE DATA FIELDS SHARED AND SOLD IN GOOGLE RTB AUCTIONS ARE
          INTENDED TO BE UNIFORM AND ARE DESIGNED TO IDENTIFY
          INDIVIDUALS AND HOUSEHOLDS
          16.    Dr. Striegel states that, in his opinion, “Google does not share a ‘common’ or

‘uniform’ set of data in all RTB bid requests, as Drs. Shafiq and Wilson contend.”2 Dr. Striegel

backs up his assertion by claiming that “[Dr. Shafiq and Dr. Wilson’s] opinions are incorrect and




2
    Striegel Report ¶ 16 (emphasis in original).
                                                   5
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the data samples in this case show significant variation in when data fields are populated[.]”3 Dr.

Striegel’s statements fundamentally mischaracterize the opinions that I offer in my Report.4

          17.    In my Report, I state the following opinion:
          “[I]t is my opinion that there is a uniform set of information contained in all Google
          RTB bid requests that is shared with and sold to RTB participants. That is, based
          on Google’s own documentation, the Google RTB bid requests are intended to be
          uniform in the types of information shared and sold.”5
In other words, my opinion is that the structure of bid requests in Google RTB is uniform: the

fields of information in OpenRTB and RTB Protobuf (also known as Authorized Buyers)6 have

been consistent throughout the proposed class period. In my report, I offer no opinions and perform

no analysis about the frequency at which fields are populated in Google RTB bid requests.

          18.    To the extent this was ambiguous in my Report, it was plainly clarified during my

deposition:
          “Q. Then the next sentence goes on to say, ‘That is, based on Google's own
          documentation, the Google RTB bid requests are intended to be uniform in the
          types of information shared and sold.’ So I'm trying to understand what your
          opinion exactly is. Are you saying that the data in RTB bid requests is intended to
          be uniform across all bid requests but may actually differ in individual bid requests,
          or are you saying that the data contained in all bid requests is literally uniform
          across all bid requests sent to all RTB participants?
          …
          A. (Witness reviews document.) Okay. So as I say in Paragraph 13 and Subpoints
          A and B, what I am looking at here is Google's developer documentation, and these
          sample bid requests produced by some RTB participants. And what I am saying is
          uniform is the structure of these bid requests. The fields that are in them are largely
          uniform. So I am not saying the second thing you said, that every individual value
          and every individual field is always the same.”7



3
    Striegel Report ¶ 90.
4
    Dr. Psounis makes the same error. Psounis Report ¶¶ 18, 20.
5
    Wilson Report ¶ 13.
6
    Striegel Report ¶ 45
7
 Wilson Deposition Tr. at 27:12-28:11 (emphasis added). Excerpts from the Wilson Deposition
Tr. are attached as Ex. 60 to the Reply Declaration of Elizabeth C. Pritzker in Support of Plaintiffs’
Reply (“Pritzker Reply Decl.”).
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          19.    Dr. Berntson’s declaration agrees with my opinion that the structure of Google RTB

bid requests is uniform. He describes the fields of “generally include[d] information”8 in Google

RTB bid requests and lists many of them in his declaration.9 Dr. Striegel also represents that

Google’s documentation for OpenRTB and RTB Protobuf are an accurate description of the

protocols that Google RTB uses to distribute bid requests to RTB participants.10

          20.    Despite the plain language of my Report and my clear statements during my

deposition (which Dr. Striegel reviewed to prepare his Report), Dr. Striegel mischaracterizes my

opinion as resting on an analysis of the frequency at which fields in RTB bid requests are

populated.11 My opinion does not rest on such an analysis; nor did I perform or present results of
such an analysis in my Report.12

          21.    As a result of this mischaracterization and misapprehension, the bulk of Dr.

Striegel’s critique with respect to my report is misplaced, and does not impugn the core conclusion,

which is that: “[T]here is a uniform set of information contained in all Google RTB bid requests

that is shared with and sold to RTB participants. That is, based on Google’s own documentation,

the Google RTB bid requests are intended to be uniform in the types of information shared and

sold.”13
          A.     UNIQUE IDENTIFIERS IN GOOGLE RTB BID REQUESTS ARE
                 DESIGNED TO UNIQUELY IDENTIFY INDIVIDUALS AND
                 HOUSEHOLDS
          22.    Dr. Striegel asserts that, in my Report, I do not explain how the unique identifiers


8
    Berntson Declaration ¶ 9.
9
    Berntson Declaration ¶¶ 9, 18-35.
10
     Striegel Report ¶ 45.
11
     Striegel Report ¶¶ 16, 90.
12
   Google’s opposition brief similarly mischaracterizes my opinion. Google claims that I
“disclaimed [my opinions] when confronted with findings from the very data [I] claimed [to have]
reviewed[.]” Google Opp. (ECF 583-4) at 1:13-15. Not so. I have consistently maintained that my
report and opinion pertain to the uniformity of structure, not frequency of fields (an analysis which
was conducted by Prof. Zubair Shafiq.
13
     Wilson Report ¶ 13.
                                                   7
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that Google RTB sells and shares in bid requests (e.g., the Google User ID and mobile device IDs)

can be used to identify individuals.14 This is true: I do not explain this in my report because there

is no need to. There is no disagreement that the purpose of these identifiers is to uniquely identify

individuals and households so that RTB participants can target them with ads and build profiles

about them.

          23.    Google openly discusses how Ad Manager—its service suite that includes Google

RTB—enables advertisers to identify specific users and target them with ads. On its Ad Manager

website Google posts “success stories” from publishers and advertisers. A cursory search of these

testimonials lays bare how Google commodifies user identity:
          “AccuWeather found that integrating Google Ad Manager and Analytics 360 gave
          its team unique insight into the value of certain audience segments for different
          advertiser verticals. […] This revenue increase was driven by users who were
          actively in-market to travel and were looking at weather in locations like the Turks
          & Caicos and Barbados. With insights like these, the team has been able to create
          more relevant advertising packages with high-value audience segments that sales
          teams can sell to directly or through programmatic marketplaces like Google Ad
          Manager.”15
In this example, a publisher (Accuweather) was able to increase advertising revenue by enabling

RTB participants to target travel ads to individuals who searched for weather reports in tropical

destinations. Google states that this occurred, in part, through their programmatic marketplace,

i.e., Google RTB.

          “Many of Priceline’s advertisers were looking for very specific inventory. Airlines,
          for example, want to reach consumers who are in the market for flights. If a
          consumer researched a flight on Priceline but didn’t complete the transaction,
          Priceline would’ve lost the opportunity to drive conversions for its airline partner.
          Today, things are different. Priceline can segment in-market flight seekers more
          effectively in Google Ad Manager and extend its reach to those audiences. That




14
     Striegel Report ¶¶ 147, 152.
15
   AccuWeather delivers value with Google Ad Manager and Google Analytics 360, Google Ad
Manager Success Story, available at https://admanager.google.com/home/success-stories/case-
study-accuweather-google-ad-manager-analytics-360/, accessed November 4, 2023.
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          way, the airline partner’s messages get to users programmatically, via all user
          touchpoints, and even outside Priceline’s network”16
In this example, a publisher (Priceline) enabled advertisers (airlines) to target ads to individuals

who searched for flights on Priceline. These ads were served to these individuals across “all user

touchpoints” (i.e., websites and apps other than Priceline) “programmatically” (i.e., via Google

RTB).

          24.    As I describe in my Report,17 the advertisers in these examples can target ads to

specific people or households based on their prior web browsing and app usage history because

these individual behaviors are being tracked and associated with unique identifiers (e.g., Google

Biscotti cookie on the web and the mobile device ID on smartphones and tablets). Google RTB

sells and shares all this data together during cookie matching and in RTB bid requests.

          25.    Contrary to his criticism regarding a lack of “explanation,”18 Dr. Striegel recognizes

that the purpose of ad exchanges like Google RTB are to sell and share data linked to individuals

and households, and that this is accomplished using technologies like cookies. His understanding

is evidenced by his own published work. His ICC 2023 paper—on which he states that his expertise

is based—includes a section describing how RTB exchanges function. He writes that “[t]he

amount of the bid depends on the user information” and that “user information (i.e., search history)

[is collected] through a variety of online tracking techniques such as cookies.” He also states that

bid requests are “populate[d] with information of the user.”19




16
  Priceline increases ROI for advertising partners in a mobile world, Google Ad Manager Success
Story, available at https://admanager.google.com/home/success-stories/case-study-priceline-
increases-roi-in-mobile-world/, accessed November 4, 2023.
17
     Wilson Report ¶¶ 23-24, 33-49.
18
     Striegel Report ¶¶ 147, 152.
19
   Alamin Mohammed, Theo Karagioules, Emir Halepovic, Shangyue Zhu, and Aaron Striegel,
rePurpose: A Case for Versatile Network Measurement, ICC 2023 (May 28, 2023), available at
https://ieeexplore.ieee.org/abstract/document/10279020 (referenced in the Striegel Report at ¶
12).
                                                   9
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          26.    Thus, it is my opinion that the purported failure to state the obvious is no failure at

all. The very purpose of these identifiers—as used in the advertising industry and as acknowledged

by both Google and Dr. Striegel—is to uniquely identify users and devices.
          B.     DR. STRIEGEL’S OPINIONS ABOUT COOKIE MATCHING AND USER
                 LISTS ARE INACCURATE AND MISLEADING, AND REFLECT A LACK
                 OF EXPERTISE IN THE FIELD
          27.    In his report, Dr. Striegel makes statements about the technical foundations of

Google RTB—specifically, about cookie matching and user lists—that misconstrue my Report

and are inaccurate and misleading. I will address each of these criticisms in turn.

          28.    Cookie Matching: Dr. Striegel makes assertions about cookie matching that

misconstrue my Report and that are inaccurate. Dr. Striegel writes:
          “Dr. Wilson contends the hosted_match_data field can be used to show that
          successful cookie matching occurred. But Dr. Wilson fails to account for the fact
          that the hosted_match_data is included in only a fraction of bid requests.”20

It is unclear what point Dr. Striegel is attempting to make because his statements are incongruous.

I do not claim that hosted_match_data is uniformly populated anywhere in my Report, so it is not

clear what I am not “accounting” for. In my Report, I simply describe a field that Google RTB

makes available to RTB participants in bid requests—hosted_match_data in this instance—and

how the data in that field, when it is populated, is interpreted—as a matched cookie with an RTB

participant. Dr. Berntson confirms that my description of this field is correct.21

          29.    Fields in Google RTB are not distributed in isolation or small groups. Rather, each

and every Google RTB bid request contains many common fields, which are populated and

distributed together. I presented truncated examples of bid requests in my Report (Tables 2 and 3)

to illustrate this point: RTB participants receive all the populated fields of data for a given bid

request together, and they rely on all the fields that have been populated in each bid request when

making bidding decisions (or when storing data to construct user profiles).


20
     Striegel Report ¶ 150.
21
     Berntson Declaration ¶ 23.
                                                   10
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          30.    It is vital that bid requests be analyzed in their totality because they contain multiple

fields that can be used to uniquely identify a device, person, or household. I identify these fields

in my report in Table 1. The google_user_id, hosted_match_data, session_id, advertising_id, and

encrypted_advertising_id all contain unique identifiers that are associated with a device, person,

or household. Furthermore, the user_agent, ip, detected_language, various other device- and

location-specific fields, and others identified by Google can be used to calculate accurate and

stable probabilistic identifiers (a.k.a. fingerprints).

          31.    It is not necessary for hosted_match_data to be populated in each bid request for

that request to be reasonably capable of being associated with an individual or household, because

Google RTB bid requests potentially contain many fields of identifiable data. hosted_match_data

is just one of these fields.

          32.    Dr. Striegel goes on to claim that “Dr. Wilson does not explain how [the cookie

matching] process could result in the identification of any individuals[.]”22 This assertion is
incorrect. As I describe in my Report, Google RTB distributes a google_user_id in bid requests

and Google’s own documentation defines the field as “[t]he Google ID for the user. This field may

be the same as the Google ID returned by the cookie matching service[.]”23 I also describe in my

Report how RTB participants can match their unique identifiers for devices, people, and

households (stored in cookies) with Google RTB’s unique identifiers via the cookie matching API

offered by Google.24

          33.    Dr. Berntson confirms my description of the cookie matching process offered by

Google RTB and the implications of this functionality. He writes:
          “RTB participants may utilize their own cookies, in the same way Google uses a
          Biscotti. ‘Cookie matching’ allows RTB participants to match their cookies with
          Google’s Biscotti for the same browser. This process allows an RTB participant,



22
     Striegel Report ¶ 150.
23
     Wilson Report ¶¶ 34-42 and Table 1.
24
     Wilson Report ¶¶ 43-49.
                                                   11
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          for example, to limit the bid requests they receive to those involving users that they
          previously interacted with, as determined by the presence of their cookies.”25
Dr. Berntson’s example use case of cookie matching is illustrative, as it confirms that this point of

cookie matching is to allow RTB participants to identify individual users (using cookies).

          34.     Dr. Striegel makes additional assertions about cookie matching that misconstrue

my Report and are inaccurate. He writes:
          “Dr. Wilson also asserts that Google uniformly shares a user’s complete IP address
          through its cookie matching service. This is inaccurate. Google does not share a
          device’s complete IP address in a RTB bid request, only a truncated IP address. In
          the cookie matching process, the user’s device can connect with the RTB
          participant. This is not directly transmitted from Google but rather the complete IP
          address is received as part of the expected Internet protocol.”26
The second sentence in this quote is incongruous and irrelevant: it refers to RTB bid requests, not

cookie matching. The third sentence is misleading: as I explained in my report, when Google

initiates cookie matching this causes users’ browsers to contact the RTB participant,27 i.e., Google

is solely responsible for the Internet protocol transmissions that reveal users’ complete (not

truncated) IP addresses to RTB participants. Thus, my assertion is correct; Dr. Striegel is wrong.

          35.     That Dr. Striegel misunderstands the basic dynamics of Google RTB’s cookie

matching API and how it interacts with Internet protocols highlights his lack of expertise about

online advertising systems, and specifically undermines his claims of being an expert in computer

networking.

          36.     User Lists: Dr. Striegel states in his report that Google stopped distributing user list

identifiers in Google RTB bid requests by at least 2018.28 This is wrong. As confirmed by Dr.

Berntson, Google continued to share user lists identifiers in RTB bid requests through early 2020.29




25
     Berntson Declaration ¶ 16.
26
     Striegel Report ¶ 151 (citations omitted).
27
     Wilson Report ¶¶ 43-49.
28
     Striegel Report ¶153.
29
     Berntson Declaration ¶ 35.
                                                   12
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          37.    Dr. Striegel mischaracterizes why user lists are privacy invasive for Google account

holders. He writes that his “understanding is that [the user list] did not identify individuals and

was only an identifying value for a specific user list created by an RTB participant.”30 This

statement is correct: the user_list.id field never contained unique identifiers for users. What the

user_list.id field contained was data about the browsing history of a specific device, person, or

household.31

          38.    Regardless of when the user list field was deprecated, Dr. Berntson reveals that this

is a distinction without meaning. Dr. Berntson states that RTB participants can still use “user lists

as a filter, to receive bid requests only for a subset of their users they are interested in.”32 Thus,
even in this modified form, user lists are still tantamount to announcing the prior browsing

behavior of specific Google account holders to RTB participants.
IV.       THE DATA SHARED AND SOLD IN GOOGLE RTB AUCTIONS IS
          REASONABLY CAPABLE OF BEING ASSOCIATED WITH INDIVIDUALS AND
          HOUSEHOLDS ALL THE TIME
          39.    Dr. Striegel states that “data samples in this case show significant variation in when

data fields are populated, including the key data fields Plaintiffs emphasize in this case.”33 He

analyzes samples of data provided by the New York Times and The Trade Desk and highlights

cases where specific fields in the datasets are not uniformly populated. Based on this analysis, Dr.

Striegel argues that Google’s RTB bid requests do not contain a uniform or commonly populated

set of fields.

          40.    Dr. Striegel’s analysis intentionally misses the point of why I discussed the New

York Times and The Trade Desk data sets in my report and is incorrect in several fundamental

ways, which renders his opinions both incorrect and misleading. As I show below, the datasets

produced by The Trade Desk and the New York Times demonstrate the opposite conclusion: the

30
     Striegel Report ¶153.
31
     Wilson Report ¶¶ 68-74.
32
     Berntson Declaration ¶ 35.
33
     Striegel Report ¶ 90.
                                                   13
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fields in bid requests generated by Google RTB are sufficiently well-populated that they are

uniformly identifiable, i.e., each bid request can be reasonably associated with a unique device,

person, or household.

       41.       Moreover, as his Report demonstrates, Dr. Striegel is not qualified to perform the

analysis that he presents in his report. Dr. Striegel states that his “research group has done

significant recent work on the interplay of network instrumentation and advertising.” This

“significant” work comprises a single academic paper.34 This is the only academic research that

Dr. Striegel has performed that is related to online advertising or RTB in any way, and its substance

is not relevant to this case in any meaningful respect. In this paper, Dr. Striegel and his co-authors

present a hypothetical system that could speed up how online ads are downloaded. In this work,

Dr. Striegel does not examine real tracking, advertising, or RTB systems in any way, or

demonstrate more than cursory understanding of how these systems operate.

       42.       Dr. Striegel confirmed during his deposition that he has no first-hand experience

measuring the prevalence or amount of information flows in online advertising systems.35
       43.       As demonstrated below, Dr. Striegel’s lack of experience and qualifications result

in an analysis that is fundamentally flawed and reflects his misunderstanding of basic concepts

and datasets.
       A.        BID REQUESTS PRODUCED BY THE NEW YORK TIMES AND THE
                 TRADE DESK ARE UNIFORMLY IDENTIFIABLE
       44.       There are three serious problems with Dr. Striegel’s analysis of The New York

Times and The Trade Desk data, which render his opinions incorrect and unreliable. I address each

in turn below.

       45.       The first problem with Dr. Striegel’s analysis is that he examines whether fields are


34
  Striegel Report ¶ 12; see also Alamin Mohammed, Theo Karagioules, Emir Halepovic,
Shangyue Zhu, and Aaron Striegel, rePurpose: A Case for Versatile Network Measurement, ICC
2023 (May 28, 2023), available at https://ieeexplore.ieee.org/abstract/document/10279020.
35
  Striegel Deposition Tr. at 15:11-17:3. Excerpts from the Striegel Deposition Tr. are attached as
Ex. 54 to the Pritzker Reply Decl.
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          47.     The second problem with Dr. Striegel’s analysis is that he examines the wrong

dataset from the New York Times. The New York Times produced several datasets, of which the

largest two are the “NetworkRequests” and “NetworkBackfillRequests” datasets. Dr. Striegel

analyzes whether fields were populated using the “NetworkRequests” dataset, which is incorrect

and inappropriate. For the analysis he was seeking to achieve, he should have used the

“NetworkBackfillRequests” data set. Google defines “backfill” as follows:
          “Inventory that has not been pre-sold or reserved. As a verb, ‘backfill’ means to
          serve ads to this inventory. Backfill inventory is often monetized with ads sold by
          ad networks, via non-guaranteed campaigns, or in an auction.”40
In other words, the “NetworkRequests” dataset includes impressions that the New York Times

sold directly to advertisers, without going through the Google RTB auction. In contrast,

“NetworkBackfillRequests” is the appropriate dataset to analyze because it contains the

impressions that the New York Times sent to the Google RTB auction.

          48.     Dr. Striegel states that the “NetworkRequests” dataset “contains

entries[.]”41 This too is incorrect: the dataset contains                entries. So, in addition to

analyzing the wrong dataset, Dr. Striegel’s analysis apparently misses 50.8% of the dataset.

          49.     Dr. Striegel quotes my deposition, where I stated that I felt the New York Times

data was appropriate for the analysis I presented in my report, as justification for his analytical

approach.42 My statement remains true: the New York Times data is appropriate for the analysis I

presented in my report—and that analysis was limited to looking at the structure of bid requests

and fingerprinting,43 not an analysis of whether fields were being uniformly populated. Dr. Striegel

misconstrues the scope of my opinion, my analysis, and my deposition as justification for




40
   Google Ad Manager Help, Glossary,
https://support.google.com/admanager/table/7636513?hl=en, accessed November 4, 2023.
41
     Striegel Report ¶ 102.
42
     Striegel Report ¶ 102, fn. 81.
43
     Wilson Report ¶¶ 38-40, 79.
                                                   16
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analyzing what is plainly the wrong New York Times dataset for the purposes for which he was

using it.

          50.    In his deposition, Dr. Striegel confirmed that he did not examine the

“NetworkBackfillRequests” dataset. He also stated that he was unaware that it existed, or what the

difference is between the two datasets. This highlights Dr. Striegel’s lack of familiarity with online

advertising systems in general, and the datasets he was tasked with analyzing in particular.44

          51.    Dr. Striegel states that the             field is empty in       % of bid requests in

the New York Times dataset.45 This statement exemplifies the problems that stem from Dr.
Striegel’s use of an inappropriate dataset: the                is populated       % of the time in the

“NetworkBackfillsRequests” dataset. (Dr. Striegel also points out that the most common referrer

is https://www.nytimes.com, a fact that is self-evident given that these are bid requests produced

by the New York Times and no other publisher.)

          52.    A third problem with Dr. Striegel’s analysis is that he fails to account for bid

requests that originate from international users. In the New York Times data, specifically, many

impressions were generated by individuals living outside the U.S. As this case pertains only to

U.S.-based Google account holders, examining bid requests from international users is not

appropriate.

          53.    Failing to filter out bid requests from international users causes Dr. Striegel to

present misleading results in his report. For example, Dr. Striegel states that       % of the

and             fields were empty in the New York Times “NetworkRequests” dataset, while            %

of the               and                fields were empty.46 Dr. Striegel fails to account for the fact

that these fields may be left intentionally blank by Google RTB when a user is in a country where

these geographic designations do not exist. After filtering out bid requests from non-U.S. users in

the “NetworkRequests” dataset (accounting for                  out of               rows, or     % of

44
     Striegel Deposition Tr. at 97:16-99:4 (Pritzker Reply Decl. Ex. 54).
45
     Striegel Report ¶ 108.
46
     Striegel Report ¶ 105.
                                                   17
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 V.       THERE IS NO REASONABLE WAY FOR A GOOGLE ACCOUNT HOLDER TO
          AVOID HAVING HIS OR HER DATA SHARED AND SOLD IN GOOGLE RTB
          AUCTIONS
          70.    In my Report, I state that it is “it is very unlikely that there are any Google U.S.

account holders who, over the entire seven-year Class Period, did not have their data shared and

sold through Google RTB at least once.”61 In his report, Dr. Striegel asserts that “Dr. Wilson’s

conjecture about the likelihood of bid requests affecting U.S. Google account holders cannot be

considered a reliable scientific opinion” because I refused, during my deposition, to precisely

quantify the likelihood that Google account holders had their data sold or shared by Google RTB.62

Dr. Striegel’s assertion is disingenuous: nobody can possibly produce the precise estimate that Dr.

Striegel demands because nobody has complete historical records of all Internet activity for the

last seven years. Further, such a precise estimate is unnecessary, as I do not present such an

estimate in my Report or my deposition.

          71.    In my Report, I clearly explain what I mean when I state that Google RTB is

unavoidable. I present evidence that Google is the most ubiquitous tracker on the Internet63 and

that Google RTB matches cookies for 84% of people using the web.64 I present evidence that

Google RTB is the largest ad exchange on the Internet and that it is used by millions of publishers

who collectively monetize multiple millions of websites and apps.65

          72.    In my deposition, I discussed how many of the most popular websites on the

Internet monetize their impression inventory through Google RTB.66 Neither Dr. Berntson nor Dr.

Striegel counter or even bother to discuss any of this evidence. Thus, it strains credulity to imply



61
     Wilson Report ¶ 124.
62
  Striegel Report ¶ 160, citing Wilson Deposition Tr. at 347:19-348:9 (Pritzker Reply Decl. Ex.
60).
63
     Wilson Report ¶ 56
64
     Wilson Report ¶ 49.
65
     Wilson Report ¶¶ 81-85 and Table 4.
66
     Wilson Deposition Tr. at 287:6-288:10 (Pritzker Reply Decl. Ex. 60).
                                                  22
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          75.    Regardless, Dr. Striegel claims that “the percentages Dr. Wilson identified in his

report to support his opinion (shown in Table 5) are inflated and unreliable”71 because I analyze

the crawled data at the granularity of websites (combining data from six individual web pages)

rather than web pages. In my Report I state that “Google would have shared or sold [Named

Plaintiffs’] information (via cookie matching and/or RTB) on 55% of these websites, on

average.”72 The equivalent statistic calculated at the level of web pages is 46%, i.e., there is only

a modest change in the result and no change to my opinion. All the data underlying my analysis

was made available to Dr. Striegel, he could have calculated the web page-level statistic if he chose

to, rather than cast baseless and incorrect aspersions on my results and opinions.
VI.       USER AND PUBLISHER CONTROLS DO NOT STOP THE SHARING AND
          SELLING OF GOOGLE ACCOUNT HOLDER DATA IN GOOGLE RTB
          AUCTIONS

          A.     USER SETTINGS, ACTIONS, AND TOOLS
          76.    Dr. Berntson and Dr. Striegel both list several settings, actions, and tools that may

affect the information that is included in Google RTB bid requests. As I will discuss, Dr. Berntson

and Dr. Striegel’s discussion of these settings, actions, and tools is misleading: these settings,

actions, and tools are either completely impractical to adopt, do not remove all identifying

information from Google RTB bid requests (meaning that Google RTB is still selling and sharing

Google account holder data even when the setting, action, or tool is adopted), or both.

          77.    Before delving into the specifics of each setting, action, and tool mentioned by Dr.

Berntson and Dr. Striegel, it is important to revisit the substance of the claim made by Plaintiffs:

that Google is violating the promise to, among other things, “[not] sell your personal information

to anyone[.]”73 It should not be Google account holders’ responsibility to change settings, take

actions, or adopt tools to force Google to uphold its promise.



71
     Striegel Report ¶ 163.
72
     Wilson Report ¶ 100.
73
     See, e.g., Consolidated Class Action Complaint, ECF 92, ¶ 80.
                                                   24
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                Figure 1: A screenshot of the error message that Google displays if a person attempts to log-in to
                              their Google Account with JavaScript disabled in their web browser.


          78.      Disable JavaScript: Dr. Berntson correctly states that users may disable JavaScript

in their web browsers, and if they do so, this will prevent Google RTB from auctioning impressions

from their browser.74

          79.      Dr. Berntson presents no evidence that users actually disable JavaScript in their

browsers, and for good reason.

          80.      It is extremely unlikely that users disable JavaScript in their web browsers because

websites rely on JavaScript to implement essential functionality, such as logging users into their

account, facilitating e-commerce, playing videos, etc. For example,

          81.      Figure 1 is a screenshot of the error message that Google presents if a user attempts

to log-in to their Google Account with JavaScript disabled in their web browser. For these reasons,

it is completely impractical to disable JavaScript in web browsers, and thus this is not a viable

approach for Google account holders to prevent Google RTB from sharing and selling their

information.

          82.      On mobile devices, there is no setting for mobile apps that is equivalent to disabling

JavaScript in a web browser. Disabling JavaScript does not prevent Google RTB from auctioning

impressions from mobile apps, and it has no impact on the information that Google RTB sells and

shares in these bid requests.


74
     Berntson Declaration ¶ 37.
                                                       25
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setting is enabled, Google RTB bid requests still contain sufficient information to compute

fingerprints (i.e., truncated IP, language, user agent, etc.). Thus, Google account holders are still

identifiable even when GAP functions as intended.

          87.    Signed-out User Settings: Dr. Berntson describes two pathways that are available

to users to opt-out of “personalized ads” in their web browser when they are not logged-in to a

Google Account. Dr. Berntson correctly states that this opt-out functionality is implemented using

a cookie.79

          88.    Neither Dr. Berntson nor Dr. Striegel present any evidence that users utilize this

opt-out functionality.

          89.    Because this signed-out opt-out functionality is implemented using a cookie, it

suffers from several practical limitations. First, a user must opt-out in every browser they use on

every device they own, since each needs its own copy of the opt-out cookie. Second, if a user

clears their cookies or enters a private browsing window, the opt-out cookie is deleted

(temporarily, in the case of a private browsing window) and thus Google RTB will once again sell

and share their information. Third, mobile apps do not use cookies, so this setting has no impact

on the information sold and shared by Google RTB in bid requests from mobile apps.

          90.    Dr. Berntson asserts that the signed-out opt-out is similar to GAP, in that it causes

Google RTB to remove unique identifiers from bid requests.80 However, as I have already

discussed, in this scenario Google RTB bid requests still contain sufficient information to compute

fingerprints (i.e., truncated IP, language, user agent, etc.). Thus, Google account holders are still

identifiable even when they are using a web browser where the signed-out opt-out is activated.




79
     Berntson Declaration ¶¶ 51-53; see also Striegel Report ¶ 80.
80
     Berntson Declaration ¶ 52.
                                                    27
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                 Figure 2: Screenshot from the settings of Google Chrome where users may disable all cookies.
                   Google does not recommend that users disable all cookies because it breaks the essential
                                                    functionality of websites.




                Figure 3: A screenshot of the error message that Google displays if a person attempts to log-in to
                                        their Google Account with all cookies disabled.


          91.      Blocking All Cookies: Dr. Berntson and Dr. Striegel both correctly state that users

can disable all cookies in their web browser, and that if they do so, Google RTB is unable to

include a unique identifier (i.e., from Google’s Biscotti cookie) in bid requests.81

          92.      As evidence that this setting may have substantive impact on the information sold

and shared by Google RTB, Dr. Striegel cites a report from McKinsey that claims that 41% of a

sample of 792 people self-reported that they had “[s]et browser to disable or turn off cookies[.]”82


81
     Berntson Declaration ¶ 55; Striegel Report ¶ 82.
82
  Venky Anant, et al., The consumer-data opportunity and the privacy imperative, McKinsey &
Company (Apr. 27, 2020), available at https://www.mckinsey.com/capabilities/risk-
andresilience/our-insights/the-consumer-data-opportunity-and-the-privacy-imperative, accessed
November 3, 2023 (cited in Striegel Report at ¶ 82, fn. 59).
                                                       28
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There is no way this statistic is correct: much like disabling JavaScript, disabling all cookies (i.e.,

first and third-party cookies) breaks essential functionality of many websites, including, for

example, the ability to log-in to accounts or conduct e-commerce transactions. Google describes

this broken functionality correctly in the settings of Google Chrome (see Figure 2).

          93.    Figure 3 is a screenshot of the error message that users receive if they try to log-in

to their Google Account with all cookies disabled. It is likely that the respondents in McKinsey’s

sample misunderstood the question about cookies, perhaps confusing disabling third-party cookies

(which I discuss below) with disabling all cookies. I am unaware of any reliable statistics on users’

adoption of total cookie blocking.

          94.    Given that blocking all cookies breaks essential functionality of websites, it is

completely impractical to disable all cookies in web browsers, and thus this is not a viable approach

for Google account holders to prevent Google RTB from sharing and selling their information.

          95.    Even if a user were to disable all cookies in their web browser, this would only

prevent Google RTB from including unique identifiers (e.g., from the Google Biscotti cookie) in

bid requests. As I have already discussed, in this scenario Google RTB bid requests will still

contain sufficient information to compute fingerprints (i.e., truncated IP, language, user agent,

etc.). Thus, Google account holders are still identifiable even when they disable all cookies in their

browser.

          96.    Mobile apps do not use cookies, so disabling cookies has no impact on the

information sold and shared by Google RTB in bid requests from mobile apps.

          97.    Blocking Third-party Cookies: Dr. Berntson and Dr. Striegel correctly state that

users may disable third-party cookies in web browsers, and that some web browsers have enabled

this functionality by default in recent years83 (e.g., Firefox in 2019).84 They correctly state that


83
     Berntson Declaration ¶ 55; Striegel Report ¶¶ 82-83.
84
  Firefox rolls out Total Cookie Protection by default to more users worldwide, Mozilla Blog
(April 11, 2023), available at https://blog.mozilla.org/en/mozilla/firefox-rolls-out-total-cookie-
protection-by-default-to-all-users-worldwide/, accessed November 3, 2023.
                                                   29
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Google RTB is unable to include a unique identifier (i.e., from Google’s Biscotti cookie) in bid

requests when third-party cookies are disabled.

          98.    Google Chrome, the most popular web browser in the U.S.,85 does not block third-

party cookies by default. Chrome only began blocking third-party cookies in private browsing

windows in May 2020.86

          99.    Dr. Striegel mischaracterizes when the Safari browser began blocking third-party

cookies.87 Apple implemented an incomplete block of third-party cookies beginning in 2017;88

they did not implement a complete block until 2020.89

          100.   Even if a user were to disable third-party cookies in their web browser or adopt a

web browser that blocks third-party cookies by default, this would only prevent Google RTB from

including unique identifiers (e.g., from the Google Biscotti cookie) in bid requests. As I have

already discussed, in this scenario Google RTB bid requests will still contain sufficient information

to compute fingerprints (i.e., truncated IP, language, user agent, etc.). Thus, Google account

holders are still identifiable even when third-party cookies are disabled in their browser.

          101.   Mobile apps do not use cookies, so disabling third-party cookies has no impact on

the information sold and shared by Google RTB in bid requests from mobile apps.

          102.   Clearing Cookies: Dr. Berntson correctly describes the implications of clearing
browser cookies: after clearing cookies “any subsequent browsing activity can no longer be


85
     Browser Market Share United States of America, Statcounter, available at
https://gs.statcounter.com/browser-market-share/all/united-states-of-america, accessed November
3, 2023.
86
  AbdelKarim Mardini, More intuitive privacy and security controls in Chrome, Chrome Blog
(March 19, 2020), available at https://blog.google/products/chrome/more-intuitive-privacy-and-
security-controls-chrome/, accessed November 3, 2023.
87
     Striegel Report ¶ 82.
88
   John Wilander, Intelligent Tracking Prevention, Apple WebKit Blog (June 5, 2017), available
at https://webkit.org/blog/7675/intelligent-tracking-prevention/, accessed November 3, 2023.
89
  John Wilander, Full Third-Party Cookie Blocking and More, Apple WebKit Blog (March 24,
2020),  https://webkit.org/blog/10218/full-third-party-cookie-blocking-and-more/, accessed
November 3, 2023.
                                                   30
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associated with those deleted identifiers[.]”90 Dr. Striegel states that deleting cookies will “limit or

altogether block certain information from inclusion in bid requests[,]”91 which is incorrect and

incompatible with Dr. Berntson’s statement.

          103.   Neither Dr. Berntson nor Dr. Striegel present any evidence that users routinely clear

their browser cookies or configure their browser to clear their cookies at the conclusion of

browsing sessions.

          104.   In any event, clearing browser cookies does not limit the information that Google

RTB sells and shares in bid requests. If a user clears their cookies, Google RTB will assign them

a new unique identifier in the Biscotti cookie and distribute this new identifier in all future bid

requests. Prior to cookie deletion, all Google RTB bid requests contained a unique identifier, thus

making them Google account holder information. After cookie deletion, all Google RTB bid

requests contain a unique identifier, thus making them Google account holder information. The

possibility that browsing activity from before and after the cookie deletion may not be linkable by

RTB participants does not render any of the data in the bid requests as no longer constituting

Google account holder information.

          105.   Dr. Striegel asserts that users’ ability to remove cookies “impacts any ability to use

the google_user_id as a persistent identifier for a browser[.]”92 As I clarify above, this statement
is incorrect and misleading.

          106.   Mobile apps do not use cookies, so cookie deletion has no impact on the

information sold and shared by Google RTB in bid requests from mobile apps.

          107.   Private Browsing Mode: Dr. Berntson correctly describes the functionality and

implications of private (or incognito) mode in web browsers: “[b]ecause Chrome creates a new set

of cookies for that Incognito session, the Biscotti ID and any google_user_ids derived from that



90
     Berntson Declaration ¶ 56.
91
     Striegel Report ¶ 81.
92
     Striegel Report ¶ 149.
                                                   31
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Biscotti ID, are unique to that specific Incognito session.”93 Dr. Striegel’s description of private

browsing mode agrees with Dr. Berntson.94

             108.   The default behavior of private browsing mode has the same effects as clearing

cookies, and therefor fails to prevent Google RTB from selling and sharing Google account holder

data for the same reasons: Google RTB will assign a new unique identifier in the Biscotti cookie

and distribute this new identifier in all bid requests within this private browsing session. The

possibility that browsing activity from inside and outside the private browsing session may not be

linkable by RTB participants does not render any of the data in the bid requests as no longer

constituting Google account holder information.

             109.   Mobile apps do not have an equivalent “private” or “incognito” mode, so private

browsing has no impact on the information sold and shared by Google RTB in bid requests from

mobile apps.

             110.   Browser Extensions: Dr. Berntson correctly describes the functionality of the two
most popular ad blocking web browser extensions (that I am aware of): AdBlock and Adblock

Plus.95 Dr. Berntson also correctly explains why these browser extensions do not prevent Google

RTB from selling and sharing Google account holders’ information:
             “When a user unchecks the ‘Allow Acceptable Ads’ option in the extension’s
             settings, these ad-blocking extensions may, depending on their configuration,
             prevent the browser from sending ad requests to Google.”96
Google has paid to be placed on an allow-list that enables bid requests from Google RTB and ads

from Google RTB participants to bypass these ad blocking extensions by default. If a user is savvy

enough to install one of these extensions and then modify its default settings, then the extension

may, sometimes, prevent Google RTB from auctioning impression.



93
     Berntson Declaration ¶¶ 57-58.
94
     Striegel Report ¶ 84.
95
     Berntson Declaration ¶ 59.
96
     Ibid.
                                                     32
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          111.   In my academic research, I have evaluated Adblock Plus in its default configuration

and found that it did not reduce flows of data to online trackers or ad exchanges, including Google

RTB, as compared to a control web browser with no ad blocking extension at all.97 AdBlock uses

the same allow-list as Adblock Plus, and thus also fails for the same reasons.

          112.   Dr. Berntson correctly describes the availability and functionality of the Interest-

Based Ads Opt-out browser extension.98 However, Dr. Berntson also admits that this extension is

irrelevant because it is only installed on between 500,000 and 1 million Chrome browsers

worldwide. Even if all these installations were in the U.S., this covers at most 0.4% of the 226

million adults in the U.S.99
          113.   Dr. Berntson states that the Interest-Based Ads Opt-out browser extension

implements the same functionality as the signed-out opt-out that I discussed above. Thus, this

extension fails to prevent Google RTB from selling and sharing Google account holders’

information for the same reasons as the signed-out opt-out.

          114.   Regardless of the functionality of ad blocking browser extensions, their

applicability is limited. Chrome on mobile devices does not support extensions at all. Further, web

browser extensions have no impact on the information sold and shared by Google RTB in bid

requests from mobile apps.

          115.   Device-level Settings: Dr. Berntson and Dr. Striegel state that device-level settings

in iOS and Android may impact whether the unique mobile device identifier (IDFA on iOS, ADID

on Android) is sold and shared by Google RTB in bid requests.100 These settings have the same

impact as cookie blocking in web browsers, i.e., Google RTB bid requests no longer contain a


97
  Muhammad Ahmad Bashir and Christo Wilson, Diffusion of User Tracking Data in the Online
Advertising Ecosystem, PoPETS (July 2018) 2018(4), available at https://cbw.sh/static/pdf/bashir-
pets18.pdf.
98
     Berntson Declaration ¶ 60.
99
  The Demographic Outlook: 2023 to 2053, The Congressional Budget Office (January 24, 2023),
available at https://www.cbo.gov/publication/58612, accessed November 3, 2023.
100
      Berntson Declaration ¶ 61; Striegel Report ¶ 87.
                                                   33
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unique identifier. As I have already discussed, in this scenario, Google RTB bid requests will still

contain sufficient information to compute fingerprints (i.e., truncated IP, language, user agent,

etc.). Thus, Google account holders are still identifiable even when they activate these settings on

their mobile devices.

          116.    These device-level settings suffer from other practical problems. First, they must

be enabled on every smartphone and tablet that a person owns. Second, these device-level settings

have no impact on the information sold and shared by Google RTB in bid requests from web

browsers.

          117.    Google’s developer documentation states that the functionality of the “Limit Ad

Tracking” (“LAT”) setting on Android has changed over time.101 According to the documentation,
in versions of Android released prior to late 2021, the ADID could be read by apps (and

subsequently shared with third parties over the Internet) even if the user engaged the LAT opt-out.

In subsequent versions of Android, if a user engages the LAT opt-out, apps are blocked from

reading the ADID.102 Thus, for the majority of the proposed class period, the LAT opt-out on

Android offered no substantive privacy protection to users.

          118.    The LAT opt-out on Android has always been disabled by default. This explains

why, according to evidence cited by Dr. Striegel, LAT is only enabled on 2.3% of Android

devices.103 This statistic demonstrates that the LAT opt-out does not have a substantive impact on

Google RTB’s selling and sharing of Google account holders’ data.

          119.    Dr. Striegel correctly states that, prior to the release of iOS 14.5 in 2021, iOS also

had a LAT opt-out setting that offered analogous functionality to LAT on Android prior to 2021.104


101
   AdvertisingIdClient.Info, Google Play Services Documentation (March 21, 2022), available at
https://developers.google.com/android/reference/com/google/android/gms/ads/identifier/Advertis
ingIdClient.Info, accessed November 3, 2023.
102
   Dr. Berntson and Dr. Striegel refer to this as deleting the ADID. Berntson Declaration ¶ 63 and
Striegel Report ¶ 88.
103
      Striegel Report ¶ 87.
104
      Ibid.
                                                   34
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As I have already stated, these LAT opt-out settings offered no substantive privacy protection to

users. Dr. Striegel also correctly states that, as of iOS 14.5, apps may not read a device’s IDFA

until a user opts-in. As I have already stated, however, even if a user refuses to opt-in, Google

RTB bid requests will still contain sufficient information to compute fingerprints (i.e., truncated

IP, language, user agent, etc.), and thus Google account holders are still identifiable.

          120.    Dr. Berntson and Dr. Striegel both discuss how, on Android, users may reset their

ADID, which replaces the device’s unique identifier with a new unique identifier.105 This

capability fails to prevent Google RTB from selling and sharing Google account holder data for

the same reason as clearing cookies (discussed above): in both cases, all Google RTB bid request

will contain a unique identifier that is linked to a device, person, or household.

          121.    Virtual Private Network (VPN): Dr. Berntson states that when a device utilizes a
VPN that this “masks the sending device’s IP address”106 (Dr. Striegel makes an equivalent

claim107). These assertions are overbroad and misleading. When a device uses a VPN, the VPN

can be configured to reroute all Internet traffic from the device or a subset of Internet traffic. For

example, a remote employee at a company could install a VPN on their laptop that directs all

network traffic destined for the corporate network through the VPN, while all other Internet traffic

bypasses the VPN completely. In this example, Google RTB would observe this employee’s true

IP address, not the VPN’s IP address, and would thus distribute the true (truncated) IP address and

geolocation in bid requests. Thus, it is incorrect for Dr. Berntson and Dr. Striegel to assert that

VPNs have a uniform impact on Google RTB bid requests; in fact, many VPNs may have no

impact on the information distributed by Google RTB at all.

          122.    If a user installs a VPN on their device and configures it to tunnel all Internet traffic,

then Dr. Berntson and Dr. Striegel’s statements about the impact of the VPN are correct: the VPN’s

truncated IP address and geolocation will appear in Google RTB bid requests, not the user’s

105
      Berntson Declaration ¶ 62; Striegel Report ¶¶ 88, 152.
106
      Berntson Declaration ¶ 64.
107
      Striegel Report ¶ 85.
                                                    35
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truncated IP address and geolocation.108 However, this is a pointless distinction, because Google

RTB continues to sell and share unique identifiers (e.g., from cookies and device identifiers) and

information sufficient to compute fingerprints in bid requests even if a user adopts a correctly

configured VPN. The information contained in Google RTB bid requests is still reasonably capable

of being associated with an individual or household, even if the truncated IP address and

geolocation are incorrect.

          123.    Dr. Berntson provides no credible evidence that VPN adoption has substantively

impacted the correctness of information included in Google RTB bid requests. Dr. Striegel cites

two “articles” as evidence of widespread VPN adoption;109 however, these “articles” in Forbes and
Comparitech are actually advertorials full of sponsored links to commercial VPN providers. These

two pieces provide no credible information about VPN adoption. Further, Dr. Striegel cites

statistics of VPN usage from Statista that were drawn from a sample of only 1,000 people,110 with

no information provided about how these people were recruited or surveyed, and no data presented

about the representative nature of this sample. Thus, this particular information from Statista

cannot be considered scientifically valid.

          124.    Academic research on VPN adoption has consistently found that usage is low

overall: between 0.7% and 2.6% of all Internet traffic.111

          125.    Dr. Berntson also mentions HTTP proxies in his declaration.112 Dr. Berntson

correctly states that a proxy may obfuscate a Google account holder’s true IP address. However,

he provides no evidence to suggest that proxies are widely adopted. Furthermore, proxies suffer

108
      Berntson Declaration ¶¶ 64-65; Striegel Report ¶¶ 85-86.
109
      Striegel Report ¶ 85, fn. 65.
110
      Ibid.
111
   Aniss Maghsoudlou, Lukas Vermeulen, Ingmar Poese, and Oliver Gasser, Characterizing the
VPN Ecosystem in the Wild, PAM (March 21–23, 2023), available at
https://vpnecosystem.github.io/; Luca Schumann, Trinh Viet Doan, Tanya Shreedhar, Ricky Mok,
and Vaibhav Bajpai, Impact of Evolving Protocols and COVID-19 on Internet Traffic Shares,
arXiv (January 15, 2022), available at https://arxiv.org/abs/2201.00142.
112
      Berntson Declaration ¶¶ 64-65.
                                                    36
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from the same shortcomings as VPNs: even if a Google account holder uses a proxy, Google RTB

will still include their unique identifiers and data sufficient to calculate a fingerprint in bid requests.

Thus, proxies do not render Google RTB bid requests as unidentifiable.

          B.      PUBLISHER CONTROLS

          126.    Dr. Berntson states that “publishers can use privacy controls in Google Ad Manager

that affect the data included in bid requests.”113 Dr. Striegel relies on the existence of these controls

when he claims that “extent to which various fields are included in a bid request, and in what form

they appear, depends on many individualized factors and circumstances, including publisher

controls[.]”114 While Dr. Berntson and Dr. Striegel are correct that these control exists and could
potentially impact the fields included in some bid requests, the available evidence indicates that

these publisher controls are irrelevant and have no bearing in this case; particularly, since neither

Dr. Berntson nor Dr. Striegel identify a single instance where a publisher control was actually

implemented.

          127.    As an overarching matter, I again return to the substance of the claim made by

Plaintiffs: that Google is violating its promise to “not sell your personal information to anyone[.]”

Google does not fulfill its promise by giving controls to publishers, because it is not publishers’

responsibility to fulfill promises that Google has made to its account holders.

          128.    Google began offering the controls that Dr. Berntson and Dr. Striegel mention115 in

2019 (restricted data processing or “RDP”),116 2021 (non-personalized ad requests),117 and 2021




113
      Berntson Declaration ¶ 40.
114
      Striegel Report ¶ 72.
115
      Striegel Report ¶¶ 73-77; Berntson Declaration ¶¶ 40-44.
116
  Google Ads Help, https://support.google.com/google-ads/answer/9614122, accessed
November 3, 2023.
117
      GOOG-HEWT-00455861.
                                                   37
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(blocking remarketing and interest-based cookies),118 respectively, but the proposed class period

begins in 2016. Thus, at a minimum, Google engaged in selling and sharing of Google account

holder data for roughly three years before these publisher controls even existed.

        129.   There is a strong monetary disincentive for publishers to enable these controls. If

these controls function as described by Dr. Berntson, then publishers who enable them will incur

a significant drop in their advertising revenue. As described by Dr. Zeithammer,119 the personal

data that Google RTB sells and shares has significant monetary value—RTB participants bid more

often and big higher due to this data—some of which is captured by Google RTB itself, and some

of which flows down to publishers. A publisher that enables the controls described by Dr. Berntson

and Dr. Striegel is simply leaving money on the table. Indeed, publishers face the same monetary

disincentive as Google itself, which is why Google RTB continues to sell and share Google account

holder data by default.

        130.   There are no legal requirements that publishers enable these controls by default. To

the best of my knowledge, four U.S. states have online privacy laws currently in effect (the

California Consumer Privacy Act (“CCPA”), the California Privacy Rights Act (“CPRA”), the

Colorado Privacy Act, the Virginia Consumer Data Protection Act, and the Connecticut Personal

Data Privacy and Online Monitoring Act),120 and all of them are opt-out laws, i.e., companies are
free to collect, sell, and share digital data unless a consumer affirmatively opts-out of these

practices. The earliest of these laws, the CCPA, went into effect in 2020, and the non-California

118
    Dr. Striegel refers to GOOG-HEWT-00455879 as evidence of this control. This document is
undated. The earliest mention I can find of this capability on the web is from 2021, see Block
cookie             and         data           uses           in          Ad           Manager,
https://web.archive.org/web/20210822143642/https://support.google.com/admanager/answer/291
3700, accessed November 3, 2023.
119
   Expert Class Certification Report R. Zeithammer in Support of Plaintiffs’ Motion for Class
Certification, dated July 14, 2023, Sections V-X (ECF 545-7).
120
    Cal. Civ. Code §§ 1798.100 et seq., California Proposition 24, Colorado Re. Stat. § 6-1-1301
et seq., Connecticut 2022 S.B. 6, and Virginia 2021 H.B. 2307/2021 S.B. 1392. Nine additional
states have passed online privacy laws, all of which take effect in the future, including Delaware
(1/1/25), Florida (7/1/24), Indiana (1/1/26), Iowa (1/1/25), Montana (10/24/24), Oregon (7/1/24),
Tennessee (7/1/25), Texas (7/1/24), and Utah (12/31/23).
                                                 38
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laws are going into effect in 2023. Thus, these laws, and the publisher controls that Google has

rolled-out to attempt to comply with them, (1) have no bearing on Google account holders who

live in most U.S. states, (2) did not exist for most of the proposed class period, and (3) offer no

protection by-default to Google account holders.

          131.   Laws like the CCPA and CPRA apply to a surprisingly narrow set of publishers.

For example, the CPRA only applies to businesses (1) with annual gross revenue greater than or

equal to $25 million dollars, (2) that sell the personal information of at least 100,000 unique

Californians per year, or (3) derive at least 50% of their annual revenue from the sale of

Californian’s personal information.121 I published an academic study in 2022 in which my co-
author and I estimated that only around 1,200 websites meet the second prong of the CPRA’s

applicability criteria.122 Recall that Google RTB is the largest ad exchange and works with almost

1.3 million publishers,123 meaning that vast majority of publishers likely have no legal obligation

to utilize Google’s publisher controls, even in U.S. states that have online privacy laws.

          132.   Dr. Berntson and Dr. Striegel state that publishers can enable RDP mode on a per-

user basis if the user chooses to opt-out of the sharing and selling of their data.124 These per-user

controls suffer from all the same monetary and legal disincentives publisher controls in general.

These per-user controls are problematic for several additional reasons:

                 a. Again, returning to the substance of the claims made by Plaintiffs, Google has

                     promised not to sell or share their personal data. Giving Google account holders

                     per-publisher privacy controls does not release Google from fulfilling its

                     privacy promises.



121
      Cal. Civ. Code §§ 1798.140(d)(1).
122
   Maggie Van Nortwick and Christo Wilson, Setting the Bar Low: Are Websites Complying With
the Bare Minimum Requirements of the CCPA?, PoPETS 2022(1), 2022, available at
https://petsymposium.org/popets/2022/popets-2022-0030.php.
123
      Wilson Report Table 4.
124
      Berntson Declaration ¶ 43; Striegel Report ¶ 74.
                                                   39
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                 b. These user-controls must be activated on a per-website and per-app basis. The

                    burden of locating and enabling these individual opt-outs on every website and

                    app is placed entirely on Google account holders.

                 c. I have studied websites’ compliance with the provisions of the CCPA and

                    CPRA. Using data crawled from the web in 2020 and 2021, my co-author and

                    I estimate that only 18% of websites to which the CCPA was applicable met the

                    minimum requirements of the law, and that only 23% of websites to which the

                    CPRA was applicable met the minimum requirements of the law.125 Based on

                    these findings, it is unlikely that per-user controls are being offered to Google

                    account holders by most publishers, even in cases where publishers appear to

                    be legally required to do so.

          133.   A recent, peer-reviewed scientific study observed that even when publishers do

claim to allow users to opt-out of the sharing and selling of their data, these controls do not function

as intended. In this study, the authors opted-out of data selling and sharing using publisher controls

and then measured sharing and selling of data to third parties, including Google.126 The authors
found that opting-out using publisher controls had no statistically significant impact on selling and

sharing of personal information with third-parties, including no impact on the placement of

tracking cookies, cookie synching, bid volume on impressions, or bid value on impressions.

          134.   Taken together, these points demonstrate the irrelevance of publisher controls. I am

not aware of any evidence that Google’s publisher controls are adopted or enabled by publishers,

and Dr. Berntson and Dr. Striegel present no evidence that they are adopted or enabled. The

economic and legal landscape strongly suggests that they are not adopted (at all or on-by-default)




125
      Van Nortwick and Wilson, supra note 1222.
126
   Zengrui Liu, Umar Iqbal, and Nitesh Saxena, Opted Out, Yet Tracked: Are Regulations Enough
to Protect Your Privacy?, PoPETS 2024, pre-publication draft available at
https://arxiv.org/pdf/2202.00885.pdf.
                                                  40
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and available scientific evidence suggests that their adoption is (1) very limited and (2) non-

functional even when they are adopted.
          C.     FINGERPRINTING DOES NOT EXPLAIN THE RESULTS OF MY GAP
                 EXPERIMENT
          135.    In my report, I describe an experiment that I conducted to test whether the GAP

setting that Google makes available to Google account holders allows them to disable

“personalized ads” (Google’s terminology).127 My experiment demonstrated that GAP does not
function as stated by Google: even after opting-out, my experimental web browser continued to

receive ads via Google RTB that were targeted to its prior browsing history.

          136.   Dr. Striegel characterizes my experiment as “inherently flawed and his findings are

unreliable as a result.”128 Dr. Striegel’s interpretation of my experiment is incorrect, because he

fails to understand the construction of the experiment, and thus he is incapable of correctly

interpreting my findings.

          137.   Dr. Striegel lacks the necessary experience and qualifications to evaluate the causal

experiments that I present in my report to evaluate the GAP setting.129 Dr. Striegel confirmed

during his deposition that he has never used the Chrome Debug Protocol, a key piece of technology

that my experiments rely on.130 Furthermore, Dr. Striegel does not claim to have any expertise

performing or evaluating causal experimental designs, which may explain why he incorrectly

interprets the findings of my experiments.
          138.   Dr. Striegel summarizes my experimental setup in the following way: “[a]s

background, Dr. Wilson programmed a web crawler to [] visit a number of websites.”131 This is

incorrect. As I state in my report, my experiments involved three web crawlers running

simultaneously: (1) an untreated baseline crawler that visited publishers and collected ads, but did

127
      Wilson Report ¶¶ 105-125.
128
      Striegel Report ¶ 164.
129
      Wilson Report ¶¶ 104-125.
130
      Striegel Deposition Tr. at 16:2-16:8 (Pritzker Reply Decl. Ex. 54).
131
      Ibid.
                                                   41
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not visit advertisers, (2) a treatment crawler that visited advertisers and publishers, and was not

opted-out of GAP, and (3) a treatment crawler that visited advertisers and publishers, and was

opted-out of GAP.132 For the purposes of the following discussion, I focus on crawlers (1) and (3),

the untreated baseline and the opted-out treatment.

          139.    Dr. Striegel postulates that the targeted ad that my opted-out crawler received could

have been shown because the DSP purchased the associated impression based on knowledge of

my IP address or the combination of my IP address and user-agent133 (e.g., Criteo, the DSP that

purchased the impression and served the ad in question,134 could have fingerprinted my crawler).

He claims that this undermines my conclusion. Dr. Striegel is incorrect, because the design of my

experiment rules out IP address-based targeting and fingerprint-based targeting as an explanation

for the ad in question.

          140.    In my experiment, the untreated baseline crawler and the opted-out treatment

crawler both share my home’s IP address, and they have identical user-agents.135 Their fingerprints
are identical. However, the ad in question from cuddle+kind was never served to the untreated

baseline crawler. If the DSP was targeting this ad based on IP address or fingerprint, it is equally

likely that the untreated baseline crawler and the opted-out treatment would have received it. This

was not the case.




Figure 4: An advertisement that was shown to the crawler that was logged-in to a Google account and opted-out of personalized
              advertising by Google RTB at the URL https://www.whattoexpect.com/first-year/month-by-month/.


          141.    I examined the data produced by my crawlers again and found another targeted ad

that was served to my opted-out treatment crawler, but not to the untreated baseline crawler. Like

the cuddle+kind advertisement that I highlight in my Report, the advertisement shown in Figure 4

132
      Wilson Report ¶ 107.
133
      Striegel Report ¶¶ 166-168.
134
      Wilson Report Exhibit F.
135
      Wilson Report ¶¶ 109-110.
                                                      42
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was delivered via Google RTB and advertised a website that the opted-out treatment crawler had

previously visited. Exhibit B to this Rebuttal Report includes the inclusion chain that resulted in

the download and display of this ad (i.e., the relevant subset of the full inclusion tree for this web

page). We can see in the inclusion chain that this impression was auctioned by Doubleclick and

then purchased by Google’s own DSP (the advertisement was hosted on 2mdn.net, which is a

domain name that Google uses to host ads for their DSP).

          142.   Thus, the conclusion from my report stands: the GAP setting had no effect on

Google RTB. Even when GAP is set to opt-out, Google RTB continues to distribute Google

account holder data in bid requests that is sufficient to facilitate targeted ads.136 The construction
of my experiment rules out IP-based and fingerprinting-based targeting, which leaves Biscotti-

based unique identifier or user lists as the likely mechanisms by which Google RTB is sharing and

selling Google account holder data to facilitate these ads.

          143.   It is striking that Dr. Berntson, who is the Engineering Director and a Lead of the

Google Ad Manager team, does not comment on my experiment at all. My findings reveal a serious

flaw in Google’s systems, and he is uniquely positioned to understand the source of this flaw and

elucidate causes, and yet he completely ignores my findings.

          144.   It is also striking that Dr. Berntson does not comment on the incompatibility

between Google’s promise regarding the functionality of GAP (disabling “personalized ads”) and

the actual functionality offered by the setting. Dr. Berntson states that, according to his

understanding of GAP, “pseudonymous identifiers and hosted match data” are removed from bid

requests.137 My experimental results call these assertions into question, but setting that aside, Dr.

Berntson admits that even when GAP is enabled bid requests continue to contain Google account




136
      Wilson Report ¶ 123.
137
      Berntson Declaration ¶ 49.
                                                  43
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holder data that is sufficient to facilitate fingerprinting,138 which renders Google’s no

“personalized ads” promise as a lie.139

          145.   Dr. Striegel misconstrues my deposition to suggest that I believe Google is

somehow in compliance with its own promises when it shares and sells finger-printable data about

Google account holders,140 which is not what I said:
          Q. And couldn't those other pieces of data that you understand will still be sent
          have triggered the advertisement that you see here in Paragraph 122, things like the
          IP address, user agent, if it’s being tracked by advertisers?
          A. So I think what you’re positing is perhaps a scenario where an advertiser uses
          fingerprinting to try and compute a unique identifier. That is possible. I mean,
          advertisers can compute fingerprints. And unfortunately what that would mean is
          that the guarantee that Google is making here is false, right? … they're allowing
          you to say, I would not like these ads, and yet [Google RTB is] still providing
          sufficient information for those ads to be targeted.141

          146.   My testimony clearly demonstrates that any insinuation that I agree or believe that

Google is in compliance with its own promises is categorically false.

                                           *       *      *

Dated: November 29, 2023                                       /s/
                                                               Christopher Wilson, Ph.D.




138
      Ibid.
139
   Recall that Google has actual knowledge that the Google account holder data that Google RTB
sells and shares can be used to                             , see GOOG-HEWT-00459494 and
GOOG-HEWT-00291417.
140
      Striegel Report ¶ 166.
141
      Wilson Deposition Tr. at 329:7-329:24 (Pritzker Reply Decl. Ex. 60).
                                                   44
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                                     Exhibit A
        to Expert Class Certification Rebuttal Report of C. Wilson

             ADDITIONAL MATERIALS REVIEWED AND CONSIDERED

•   Google’s Opposition to Plaintiffs’ Motion for Class Certification and Appointment of
    Class Representatives and Class Counsel, dated September 29, 2023

•   Declaration of Glenn Berntson in Support of Google’s Opposition to Plaintiffs’ Motion for
    Class Certification and Appointment of Class Representatives and Class Counsel, dated
    September 29, 2023, and the exhibits thereto

•   Expert Report of Aaron Striegel in In re Google RTB Consumer Privacy Litig., dated
    September 29, 2023, the appendices thereto, and the production of underlying testing and
    documents relied on

•   Expert Report of Konstantinos Psounis in In re of Google RTB Consumer Privacy Litig.,
    undated, and the appendices thereto

•   October 20, 2023 Deposition Transcript of Aaron Striegel in In re Google RTB Consumer
    Privacy Litig., and the exhibits thereto

•   October 16, 2023 Deposition Transcript of Konstantinos Psounis in In re Google RTB
    Consumer Privacy Litig., and the exhibits thereto

•   October 30, 2023 Deposition Transcript of Gleen Berntson in IN re Google RTB Consumer
    Privacy Litig., and the exhibits thereto

•   https://admanager.google.com/home/success-stories/case-study-accuweather-google-ad-
    manager-analytics-360/

•   https://admanager.google.com/home/success-stories/case-study-priceline-increases-roi-
    in-mobile-world/

•   Alamin Mohammed, Theo Karagioules, Emir Halepovic, Shangyue Zhu, and Aaron
    Striegel, rePurpose: A Case for Versatile Network Measurement, ICC 2023 (May 28,
    2023), available at https://ieeexplore.ieee.org/abstract/document/10279020

•   https://support.google.com/admanager/table/7636513?hl=en

•   Venky Anant, et al., The consumer-data opportunity and the privacy imperative, McKinsey
    & Company (Apr. 27, 2020), available at https://www.mckinsey.com/capabilities/risk-
    andresilience/our-insights/the-consumer-data-opportunity-and-the-privacy-imperative,
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   •   https://blog.mozilla.org/en/mozilla/firefox-rolls-out-total-cookie-protection-by-default-to-
       all-users-worldwide/
   •   Browser Market Share United States of America, Statcounter, available at
       https://gs.statcounter.com/browser-market-share/all/united-states-of-america

   •   AbdelKarim Mardini, More intuitive privacy and security controls in Chrome, Chrome
       Blog (March 19, 2020), available at https://blog.google/products/chrome/more-intuitive-
       privacy-and-security-controls-chrome/

   •   John Wilander, Intelligent Tracking Prevention, Apple WebKit Blog (June 5, 2017),
       available at https://webkit.org/blog/7675/intelligent-tracking-prevention/

   •   John Wilander, Full Third-Party Cookie Blocking and More, Apple WebKit Blog (March
       24, 2020), https://webkit.org/blog/10218/full-third-party-cookie-blocking-and-more/

   •   Muhammad Ahmad Bashir and Christo Wilson, Diffusion of User Tracking Data in the
       Online Advertising Ecosystem, PoPETS (July 2018) 2018(4), available at
       https://cbw.sh/static/pdf/bashir-pets18.pdf

   •   The Demographic Outlook: 2023 to 2053, The Congressional Budget Office (January 24,
       2023), available at https://www.cbo.gov/publication/58612

   •   AdvertisingIdClient.Info, Google Play Services Documentation (March 21, 2022),
       available at
       https://developers.google.com/android/reference/com/google/android/gms/ads/identifier/
       AdvertisingIdClient.Info

   •   Aniss Maghsoudlou, Lukas Vermeulen, Ingmar Poese, and Oliver Gasser, Characterizing
       the VPN Ecosystem in the Wild, PAM (March 21–23, 2023), available at
       https://vpnecosystem.github.io/

   •   Luca Schumann, Trinh Viet Doan, Tanya Shreedhar, Ricky Mok, and Vaibhav Bajpai,
       Impact of Evolving Protocols and COVID-19 on Internet Traffic Shares, arXiv (January
       15, 2022), available at https://arxiv.org/abs/2201.00142

   •   https://support.google.com/google-ads/answer/9614122

   •   https://web.archive.org/web/20210822143642/https://support.google.com/admanager/ans
       wer/2913700

   •   Maggie Van Nortwick and Christo Wilson, Setting the Bar Low: Are Websites Complying
       With the Bare Minimum Requirements of the CCPA?, PoPETS 2022(1), 2022, available at
       https://petsymposium.org/popets/2022/popets-2022-0030.php




Exhibit A to Expert Cass Certification Rebuttal Report of C. Wilson                              2
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   •   Zengrui Liu, Umar Iqbal, and Nitesh Saxena, Opted Out, Yet Tracked: Are Regulations
       Enough to Protect Your Privacy?, PoPETS 2024, pre-publication draft available at
       https://arxiv.org/pdf/2202.00885.pdf

   •   TTD-Hewitt-0000002

   •   New York Time “NetworkBackfillRequests” 24 CSV file

   •   GOOG-HEWT-00455861

   •   GOOG-HEWT-00455879

   •   Underlying data and testing identified by the following file names:
           o 4_reanalyze_by_webpage.ipynb
           o 4_reanalyze_by_webpage.pdf
           o analyze_google_chains.py
           o NYT_identifiability.ipynb
           o NYT_identifiability.pdf
           o publisher_data_per_url.paraquet
           o README.md
           o TDD_identifiability.ipynb
           o TDD_identifiability.pdf




Exhibit A to Expert Cass Certification Rebuttal Report of C. Wilson                          3
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Exhibit B: Inclusion Chain for the Crate&Kids Ad Image Shown to the
Crawler that was Loggin-in to a Google Account and Opted-out of Ad
Personalization

[

    {

        "timestamp": 1676164795.375991,

        "method": "GET",

        "status": "200",

        "url": "https:\/\/www.whattoexpect.com\/first-year\/month-by-month\/",

        "request": {

         "Upgrade-Insecure-Requests": "1",

   "User-Agent": "Mozilla\/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit\/537.36 (KHTML, like
Gecko) Chrome\/108.0.0.0 Safari\/537.36"

        },

        "response": {

         "access-control-allow-headers": "Content-Type",

         "access-control-allow-methods": "GET",

         "access-control-allow-origin": "*",

         "cache-control": "public, s-maxage=3600, max-age=600",

         "content-encoding": "gzip",

         "content-length": "55069",

         "content-type": "text\/html; charset=utf-8",

         "date": "Sun, 12 Feb 2023 01:19:55 GMT",

         "edge-cache-tag": "~\/first-year\/month-by-month\/",

         "expires": "Fri, 10 Feb 2023 20:16:25 GMT",

         "last-modified": "Fri, 10 Feb 2023 20:06:25 GMT",

         "vary": "Accept-Encoding",

         "x-device": "desktop",
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         "x-frame-options": "SAMEORIGIN"

     }

 },

 {

     "timestamp": 1676164795.607386,

     "method": "GET",

     "status": "200",

  "url":
"https:\/\/content.whattoexpect.com\/assets\/whattoexpect\/dist\/scripts\/min\/js\/views\/sublanding
.bundle.min.js?8439_18189",

     "request": {

         "Referer": "https:\/\/www.whattoexpect.com\/first-year\/month-by-month\/",

   "User-Agent": "Mozilla\/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit\/537.36 (KHTML, like
Gecko) Chrome\/108.0.0.0 Safari\/537.36"

     },

     "response": {

         "x-amz-version-id": "wByV5QQrciXlbgLQyUxIeINZj5vv9gYH",

         "content-encoding": "gzip",

         "date": "Sun, 12 Feb 2023 01:19:55 GMT",

         "x-amz-request-id": "E03SJKZZM53ZF4XD",

         "x-amz-replication-status": "COMPLETED",

   "x-amz-id-2":
"juq9FFVuLdCIHDXfwAEhOfI07\/AQh1nbFs1LfhCoa8PY5jOC4Hoj\/hrod\/mvVdzE85Dm6pY9g0Y=",

         "last-modified": "Wed, 08 Feb 2023 15:30:19 GMT",

         "vary": "Accept-Encoding",

         "access-control-max-age": "86400",

         "content-type": "application\/x-javascript",

         "access-control-allow-origin": "*",

         "access-control-allow-methods": "GET,POST",

         "cache-control": "max-age=604800",
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         "access-control-allow-credentials": "false",

         "accept-ranges": "bytes",

         "access-control-allow-headers": "*",

         "expires": "Sun, 19 Feb 2023 01:19:55 GMT"

     }

 },

 {

     "timestamp": 1676164797.715826,

     "method": "GET",

     "status": "200",

     "url": "https:\/\/www.googletagservices.com\/tag\/js\/gpt.js",

     "request": {

         "Referer": "https:\/\/www.whattoexpect.com\/first-year\/month-by-month\/",

   "User-Agent": "Mozilla\/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit\/537.36 (KHTML, like
Gecko) Chrome\/108.0.0.0 Safari\/537.36"

     },

     "response": {

         "date": "Sun, 12 Feb 2023 01:19:57 GMT",

         "content-encoding": "gzip",

         "x-content-type-options": "nosniff",

         "cross-origin-resource-policy": "cross-origin",

         "alt-svc": "h3=\":443\"; ma=2592000,h3-29=\":443\"; ma=2592000",

         "content-length": "27260",

         "x-xss-protection": "0",

         "server": "sffe",

         "etag": "\"1480 \/ 265 of 1000 \/ last-modified: 1676070372\"",

         "vary": "Accept-Encoding",

   "report-to": "{\"group\":\"ads-gpt-
scs\",\"max_age\":2592000,\"endpoints\":[{\"url\":\"https:\/\/csp.withgoogle.com\/csp\/report-
to\/ads-gpt-scs\"}]}",
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         "content-type": "text\/javascript",

         "cache-control": "private, max-age=900, stale-while-revalidate=3600",

         "timing-allow-origin": "*",

         "cross-origin-opener-policy-report-only": "same-origin; report-to=\"ads-gpt-scs\"",

         "expires": "Sun, 12 Feb 2023 01:19:57 GMT"

     }

 },

 {

     "timestamp": 1676164797.998244,

     "method": "GET",

     "status": "200",

     "url": "https:\/\/securepubads.g.doubleclick.net\/gpt\/pubads_impl_2023020901.js?cb=31072343",

     "request": {

         "Referer": "https:\/\/www.whattoexpect.com\/first-year\/month-by-month\/",

   "User-Agent": "Mozilla\/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit\/537.36 (KHTML, like
Gecko) Chrome\/108.0.0.0 Safari\/537.36"

     },

     "response": {

         "date": "Thu, 09 Feb 2023 12:02:37 GMT",

         "content-encoding": "gzip",

         "x-content-type-options": "nosniff",

         "age": "220641",

         "cross-origin-resource-policy": "cross-origin",

         "alt-svc": "h3=\":443\"; ma=2592000,h3-29=\":443\"; ma=2592000",

         "content-length": "133132",

         "x-xss-protection": "0",

         "last-modified": "Thu, 09 Feb 2023 09:35:45 GMT",

         "server": "sffe",

         "vary": "Accept-Encoding",
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   "report-to": "{\"group\":\"ads-gpt-
scs\",\"max_age\":2592000,\"endpoints\":[{\"url\":\"https:\/\/csp.withgoogle.com\/csp\/report-
to\/ads-gpt-scs\"}]}",

         "content-type": "text\/javascript",

         "cache-control": "public, immutable, max-age=31536000",

         "accept-ranges": "bytes",

         "timing-allow-origin": "*",

         "cross-origin-opener-policy-report-only": "same-origin; report-to=\"ads-gpt-scs\"",

         "expires": "Fri, 09 Feb 2024 12:02:37 GMT"

     }

 },

 {

     "timestamp": 1676164823.48643,

     "method": "GET",

     "status": "200",

  "url":
"https:\/\/467865c4009ef66df2eda47770462913.safeframe.googlesyndication.com\/safeframe\/1-0-
40\/html\/container.html",

     "request": {

         "Referer": "https:\/\/www.whattoexpect.com\/first-year\/month-by-month\/",

         "Upgrade-Insecure-Requests": "1",

   "User-Agent": "Mozilla\/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit\/537.36 (KHTML, like
Gecko) Chrome\/108.0.0.0 Safari\/537.36"

     },

     "response": {

         "accept-ranges": "bytes",

         "age": "25",

         "alt-svc": "h3=\":443\"; ma=2592000,h3-29=\":443\"; ma=2592000",

         "cache-control": "public, immutable, max-age=31536000",

         "content-encoding": "br",
          Case 4:21-cv-02155-YGR                Document 626-4      Filed 12/06/23       Page 53 of 57



         "content-length": "2653",

         "content-type": "text\/html",

         "cross-origin-opener-policy-report-only": "same-origin; report-to=\"ads-gpt-scs\"",

         "cross-origin-resource-policy": "cross-origin",

         "date": "Sun, 12 Feb 2023 01:19:58 GMT",

         "expires": "Mon, 12 Feb 2024 01:19:58 GMT",

         "last-modified": "Thu, 03 Nov 2022 19:10:08 GMT",

   "report-to": "{\"group\":\"ads-gpt-
scs\",\"max_age\":2592000,\"endpoints\":[{\"url\":\"https:\/\/csp.withgoogle.com\/csp\/report-
to\/ads-gpt-scs\"}]}",

         "server": "sffe",

         "timing-allow-origin": "*",

         "vary": "Accept-Encoding",

         "x-content-type-options": "nosniff",

         "x-xss-protection": "0"

     }

 },

 {

     "timestamp": 1676164823.571097,

     "method": "GET",

     "status": "200",

     "url": "https:\/\/tagan.adlightning.com\/wte\/b-f140f48-a9210dda.js",

     "request": {

         "Referer": "https:\/\/467865c4009ef66df2eda47770462913.safeframe.googlesyndication.com\/",

   "User-Agent": "Mozilla\/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit\/537.36 (KHTML, like
Gecko) Chrome\/108.0.0.0 Safari\/537.36"

     },

     "response": {

         "date": "Wed, 08 Feb 2023 00:50:39 GMT",

         "content-encoding": "gzip",
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         "via": "1.1 cd9c85933a60bbac347299c34015e9ba.cloudfront.net (CloudFront)",

         "x-amz-version-id": "m_Vf7w8qvD.vCgf_BKNBIueIku9WizZd",

         "x-amz-cf-pop": "BOS50-C2",

         "age": "347385",

         "x-cache": "Hit from cloudfront",

         "content-length": "27631",

         "x-amz-meta-git_commit": "f140f48",

         "last-modified": "Mon, 23 Jan 2023 20:16:31 GMT",

         "server": "AmazonS3",

         "etag": "\"7caa80ed58205094d2ab24fecf4c76fd\"",

         "content-type": "application\/javascript",

         "cache-control": "max-age=31536000",

         "accept-ranges": "bytes",

         "x-amz-cf-id": "DjqN3woOUEyh4ZOYEaJe3FVAE3aLOvB8JqOw_n75Vc40nJK3PzL3Uw=="

     }

 },

 {

     "timestamp": 1676164824.259177,

     "method": "GET",

     "status": "200",

  "url":
"https:\/\/s0.2mdn.net\/sadbundle\/5233103642561494263\/970x90\/CK04AD_S23_4434433_SpringP
d_Easter_970x90.html",

     "request": {

         "Referer": "https:\/\/467865c4009ef66df2eda47770462913.safeframe.googlesyndication.com\/",

         "Upgrade-Insecure-Requests": "1",

   "User-Agent": "Mozilla\/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit\/537.36 (KHTML, like
Gecko) Chrome\/108.0.0.0 Safari\/537.36"

     },

     "response": {
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         "accept-ranges": "bytes",

         "access-control-allow-origin": "*",

         "age": "190094",

         "alt-svc": "h3=\":443\"; ma=2592000,h3-29=\":443\"; ma=2592000",

         "cache-control": "public, max-age=31536000",

         "content-encoding": "gzip",

         "content-length": "2150",

         "content-type": "text\/html",

         "cross-origin-opener-policy-report-only": "same-origin; report-to=\"ads-doubleclick-media\"",

         "cross-origin-resource-policy": "cross-origin",

         "date": "Thu, 09 Feb 2023 20:32:10 GMT",

         "expires": "Fri, 09 Feb 2024 20:32:10 GMT",

         "last-modified": "Tue, 07 Feb 2023 06:18:23 GMT",

   "report-to": "{\"group\":\"ads-doubleclick-
media\",\"max_age\":2592000,\"endpoints\":[{\"url\":\"https:\/\/csp.withgoogle.com\/csp\/report-
to\/ads-doubleclick-media\"}]}",

         "server": "sffe",

         "timing-allow-origin": "*",

         "vary": "Accept-Encoding",

         "x-content-type-options": "nosniff",

         "x-dns-prefetch-control": "off",

         "x-xss-protection": "0"

     }

 },

 {

     "timestamp": 1676164824.656613,

     "method": "GET",

     "status": "200",
       Case 4:21-cv-02155-YGR             Document 626-4      Filed 12/06/23      Page 56 of 57



  "url":
"https:\/\/s0.2mdn.net\/sadbundle\/5233103642561494263\/970x90\/images\/CK04AD_S23_4434433
_SpringPd_Easter_970x90_atlas_NP_1.jpg",

  "request": {

   "Referer":
"https:\/\/s0.2mdn.net\/sadbundle\/5233103642561494263\/970x90\/CK04AD_S23_4434433_SpringP
d_Easter_970x90.html",

   "User-Agent": "Mozilla\/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit\/537.36 (KHTML, like
Gecko) Chrome\/108.0.0.0 Safari\/537.36"

  },

  "response": {

   "date": "Thu, 09 Feb 2023 20:32:10 GMT",

   "x-content-type-options": "nosniff",

   "age": "190094",

   "x-dns-prefetch-control": "off",

   "cross-origin-resource-policy": "cross-origin",

   "alt-svc": "h3=\":443\"; ma=2592000,h3-29=\":443\"; ma=2592000",

   "content-length": "38731",

   "x-xss-protection": "0",

   "last-modified": "Tue, 07 Feb 2023 06:18:23 GMT",

   "server": "sffe",

   "report-to": "{\"group\":\"ads-doubleclick-
media\",\"max_age\":2592000,\"endpoints\":[{\"url\":\"https:\/\/csp.withgoogle.com\/csp\/report-
to\/ads-doubleclick-media\"}]}",

   "content-type": "image\/jpeg",

   "access-control-allow-origin": "*",

   "cache-control": "public, max-age=31536000",

   "accept-ranges": "bytes",

   "timing-allow-origin": "*",

   "cross-origin-opener-policy-report-only": "same-origin; report-to=\"ads-doubleclick-media\"",

   "expires": "Fri, 09 Feb 2024 20:32:10 GMT"
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        }

    }

]
